                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IN THE MATTER OF:
                                                    Chapter 7
 Muwafak S. Rizek
                                                    Case No. 23-06821
        Debtor.
                                                    Hon. Judge David D. Cleary
                                                    Filed: May 24, 2023



 The Huntington National Bank, NA,

        Plaintiff,
                                                    Adv. P. Case No.
        v.
                                                    Hon. Judge David D. Cleary
 Muwafak S. Rizek,

         Defendant.



             COMPLAINT TO DETERMINE NONDISCHARGEABILITY OF
                     INDEBTEDNESS UNDER 11 U.S.C. § 523

       Plaintiff, The Huntington National Bank, NA (“Huntington”), by and through its attorneys,

Taft Stettinius & Hollister, LLP, brings this Complaint to Determine Nondischargeability of

Indebtedness Under 11 U.S.C. § 523 (the “Complaint”) against Muwafak Rizek (“Rizek”), and in

support thereof, states as follows:

                                      Preliminary Statement

       1.      This Complaint seeks a determination that certain amounts owed to Huntington by

Rizek are non-dischargeable in the above-captioned bankruptcy case pursuant to section 523 of

title 11 of the United States Code (the “Bankruptcy Code”).

       2.      Rizek, as member and chief executive officer of IYS Ventures, opened three

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business deposit accounts at Huntington that he used to defraud Huntington out of over $1.8

million. Rizek defrauded Huntington by providing the bank false information about his personal

financial condition and the size and health of his company, IYS Ventures, to induce Huntington to

provide IYS Ventures with an increased amount of immediate access to funds that Rizek

transferred via Automated Clearing House (“ACH”) transactions into IYS Ventures’ Huntington

accounts from accounts that he controlled at other financial institutions. Rizek knew that those

other deposit accounts did not have sufficient funds for the other financial institutions to honor the

ACH transactions. But, by the time that Huntington learned that the other financial institutions had

dishonored the ACH Transactions, Rizek had already wire transferred the money out of

Huntington to deposit accounts in the name of other entities that he controlled at other financial

institutions. This fraudulent activity created overdrafts of over $1.8 million in the IYS Ventures’

Huntington accounts. Prepetition, Rizek ignored all of Huntington’s demands for return of the ill-

gotten funds to cover the overdrafts.

       3.      Before Rizek filed his bankruptcy case, Huntington sued Rizek, IYS Ventures, I

Mart, Leanne and Kenan (defined below) (Case No. 23-cv-01358 ND Ill.) and on March 16, 2023

Huntington obtained a prejudgment attachment to several bank accounts and other assets that

Rizek controlled through IYS Ventures and other entities he controlled. Thereafter, on May 23,

2023, Rizek sought chapter 11 bankruptcy protection for IYS Ventures (23-06782, ND Ill.) and on

May 24, 2023, Rizek filed his voluntary petition for chapter 7 bankruptcy under which this

adversary proceeding is filed based on Rizek’s fraudulent scheme.

                                            Jurisdiction

       4.      Huntington is a national banking association that maintains its corporate

headquarters in the state of Ohio, with its main office at 17 South High Street, Columbus, Ohio



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43215.

         5.    Rizek is an individual who is the Debtor in the main bankruptcy proceeding under

which this adversary proceeding is commenced. According to his bankruptcy petition, Rizek

resides at 7924 Keystone Road, Orland Park, Illinois 60462.

         6.    This Court has jurisdiction over the subject matter of this Complaint pursuant to 28

U.S.C. §§157(b)(1) and 1334(b).

         7.    Venue is proper in this district pursuant to 28 U.S.C. §§1408 and 1409.

         8.    This is a core proceeding pursuant to 28 U.S.C. §157(b)(2).

                     Related Entities Owned and/or Controlled by Rizek

         9.    IYS Ventures is an Illinois limited liability company (“IYS Ventures”). Upon

information and belief, Rizek is the sole member of IYS Ventures.

         10.   I Mart is a Minnesota limited liability company (“I Mart”), and Rizek is the only

identified manager and is the sole member of I Mart.

         11.   Leanne is an Indiana limited liability company (“Leanne”), and Rizek is the only

identified Manager, and upon information and belief, Rizek is the sole member of Leanne.

         12.   Kenan, Inc. is an Indiana corporation (“Kenan”). Rizek is identified as its

President.

                              Rizek’s Fraudulent Banking Scheme

   A. Rizek Entered Into The Deposit Account Agreement With Huntington And Opened
      Three Business Checking Accounts In IYS Ventures’ Name.

         13.   Huntington provides various financial and cash management services for

individuals and businesses.




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       14.      On May 5, 2020, Rizek, on behalf of IYS Ventures, opened an Unlimited Plus

Checking Account with Huntington in IYS Ventures’ name, with an account number ending in

x8201 (“Account 8201”).

       15.      In order to open Account 8201, Rizek signed the Limited Liability Resolutions to

Open and Maintain a Bank Account or Safe Deposit Box (“Account 8201 Resolutions”) and

executed a Business Signature Card for Account 8201 (“Account 8201 BSC”). True and correct

copies of the Account 8201 Resolutions and Account 8201 BSC are attached hereto as Exhibit 1

and Exhibit 2, respectively.

       16.      On June 7, 2022, Rizek, on behalf of IYS Ventures, opened a second Unlimited

Plus Checking Account with Huntington in IYS Ventures’ name, with an account number ending

in x2014 (“Account 2014”).

       17.      In order to open Account 2014, Rizek signed the Resolutions to Open and Maintain

a Bank Account or Safe Deposit Box (“Account 2014 Resolutions”) and executed a Business

Signature Card for Account 2014 (“Account 2014 BSC”). True and correct copies of the Account

2014 Resolutions and Account 2014 BSC are attached hereto as Exhibit 3 and Exhibit 4,

respectively.

       18.      The same day, Rizek, on behalf of IYS Ventures, opened a third Unlimited Plus

Checking Account with Huntington in IYS Ventures’ name, with an account number ending in

x2027 (“Account 2027,” and sometimes collectively with Account 8201 and Account 2014, the

“Huntington Accounts”).

       19.      As with the first two Huntington Accounts, in order to open Account 2027, Rizek

signed the Resolutions to Open and Maintain a Bank Account or Safe Deposit Box (“Account

2014 Resolutions,” and sometimes collectively with the Account 8207 Resolutions and Account



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2014 Resolutions, the “Resolutions”) and executed a Business Signature Card for Account 2027

(“Account 2027 BSC,” and sometimes collectively with the Account 8207 BSC and Account 2014

BSC, the “Business Signature Cards”). True and correct copies of the Account 2027 Resolutions

and Account 2027 BSC are attached hereto as Exhibit 5 and Exhibit 6, respectively.

       20.     By executing the Resolutions, Rizek, on behalf of IYS Ventures, agreed that

“overdrafts, if any, shall not be considered to be a loan[.]” See Exs. 1, 3, 5.

       21.     By executing the Business Signature Cards, Rizek, on behalf of IYS Ventures,

agreed to be bound by the Business Deposit Account Agreement (“Deposit Account Agreement”)

and the terms contained therein for all three Huntington Accounts. A true and correct copy of the

Deposit Account Agreement is attached hereto as Exhibit 7.

       22.     Pursuant to the Deposit Account Agreement, IYS Ventures has “no right to

overdraw [the Huntington] Account[s.]” See Ex. 7, p. 7.

       23.     Under the Deposit Account Agreement, in the event that IYS Ventures overdrew

the Huntington Accounts, Rizek, on behalf of IYS Ventures, agreed that it “must pay [Huntington]

immediately for the amount of the overdraft and any associated fees.” Id.

       24.     Pursuant to Section 13 of the Deposit Account Agreement, Rizek, on behalf of IYS

Ventures, agreed to “indemnify [Huntington] and hold [Huntington] harmless from any claim

(including reasonable attorneys’ fees)” arising as a result of any debt owed by IYS Ventures to

Huntington. Id. at p. 11.

       B.      Mechanics Of ACH And Wire Transfers.

       25.     ACH transfers are electronic money transfers into an account at one financial

institution (the “Receiving Account”) from an account at another financial institution (the

“Sending Account”).



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          26.   ACH transfers are initiated when an account holder causes one financial institution

to send an instruction through the ACH system to the other financial institution to complete the

transfer. The financial institution that sends this instruction is referred to in the banking industry

as the Originating Depository Financial Institution (“ODFI”). The financial institution that

receives the instruction is referred to in the banking industry as the Receiving Depository Financial

Institution (“RDFI”).

          27.   That is, an account holder can initiate an ACH transfer by causing the ODFI to

instruct the RDFI to debit a Sending Account in a specified amount and transmit the funds to a

Receiving Account at the ODFI.

          28.   Typically, an ACH transfer takes about two (2) banking days to settle. In other

words, the Receiving Account at the ODFI does not immediately receive the funds while the RDFI

processes the transfer. Nonetheless, most financial institutions that permit their customers to use

ACH transfers, including Huntington, make funds immediately available in the Receiving Account

during this period (the “ACH Float Period”). The funds made available during the ACH Float

Period are referred to here as “ACH Float Funds.”

          29.   The “ACH Limit” for a deposit account refers to the maximum amount of ACH

Float Funds to which the Receiving Account holder has immediate access during the ACH Float

Period.

          30.   An ACH transfer that cannot be completed for any reason (i.e., insufficient funds

in the Sending Account, closure of the Sending Account, etc.) is referred to as a “Dishonored

Transaction.”

          31.   Dishonored Transactions are “returned” to the RDFI when the ODFI never receives

the funds requested as part of the ACH transaction.



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       32.     Unlike an ACH transfer, a wire transfer constitutes a transmission of funds from a

Sending Account to a Receiving Account that settles immediately. In other words, funds sent via

a wire transfer are immediately deducted from the Sending Account, are immediately available in

the Receiving Account, and the transfer instruction cannot be “returned” to the financial institution

from where the wire transfer was originated.

   C. Rizek on his and IYS Ventures’ behalf Made False Representations To Huntington
      Regarding Their Asset And Net Worth Valuations To Increase Their Access To
      Funds.

       33.     On or around June 13, 2022, Rizek spoke by telephone with Huntington employee

Jimmy Liu (“Liu”) about Rizek’s interest in certain Huntington commercial banking products.

       34.     During this conversation, Rizek represented to Huntington that IYS Ventures

operates and controls around seventy (70) gas stations. Upon information and belief, this

information is materially false because IYS Ventures does not own or control anywhere near that

many gas stations.

       35.     Rizek also represented that he intended to move all of IYS Ventures’ operating

accounts from a different banking entity, JPMorgan Chase & Co. (“Chase”), to Huntington.

       36.     On or around June 17, 2022, Rizek provided to Huntington employee Mark

Freeman (“Freeman”) a Statement of Revenue and Expenses and Balance Sheet for IYS Ventures

for the period of January 1, 2022 through May 31, 2022 (“IYS Financial Statements”). The IYS

Financial Statements stated that IYS Ventures had assets valued at $27,759,716.93. Upon

information and belief, the IYS Financial Statements are materially false.

       37.     Next, Rizek also provided Huntington with a list of eight properties cumulatively

valued at $7,120,000.00 (“Rizek Property List”). Rizek claimed that he personally owned the




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properties listed in the Rizek Property List free and clear of any liens. Upon information and belief,

the Rizek Property List is materially false.

       38.     Finally, Rizek provided Mr. Freeman with signed personal financial statements

representing a personal net worth of $31,905,679.00 (“Rizek Financial Statements”). Upon

information and belief, the Rizek Financial Statements are materially false.

       39.     On or around July 5, 2022, Rizek spoke with Huntington employee William Beher

(“Beher”) and requested that Account 8201’s ACH Limit be increased from $75,000.00 to

$150,000.00. At this time, Account 8201 was the only Huntington Account with ACH origination

services.

       40.     On or around July 11, 2022, based on Rizek’s representations about Rizek’s and

IYS Ventures’ financial status and ability to generate cash flow, the other two Huntington

Accounts were set up for ACH origination services and each of the three Huntington Accounts

was given an ACH Limit of $150,000.00.

   D. Rizek, On Behalf Of IYS Ventures, Agreed To The Terms Of Huntington’s
      Treasury Management Services, Which Allowed Rizek And IYS Ventures To
      Remotely Send Wire Transfers Out Of The Huntington Accounts.

       41.     In conjunction with Huntington’s financial and cash management services,

Huntington also provides treasury management services which, among other things, allow its

customers to remotely access and transfer funds through Huntington’s online platform without

having to physically visit a Huntington branch location (“Treasury Management Services”).

       42.     Huntington’s Treasury Management Services include remote access to both ACH

and wire transfers.

       43.     On or around June 8, 2022, Rizek, on behalf of IYS Ventures, signed and entered

into the Treasury Management Services Agreement with Huntington (“TM Services Agreement”)


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to gain access to Huntington’s Treasury Management Services. A true and correct copy of the TM

Services Agreement and the Authorization and Agreement for TM Services are attached hereto as

Exhibit 8 and Exhibit 9, respectively.

       44.     Under Part I, Section 2 of the TM Services Agreement, Rizek for IYS Ventures

agreed to “pay [Huntington] the applicable fees and charges disclosed to you for use of

[Huntington’s services]” and that Huntington was “authorized to charge the fees and charges to

any of [the Huntington] Account(s) when due[.]” Ex. 8, p. 3.

       45.     Under the TM Services Agreement, in the event of an overdraft, Rizek, on behalf

of IYS Ventures, agreed to “repay [Huntington] immediately, without demand, the amount of such

overdraft plus any overdraft fees, charges or interest[.]” Id.

       46.     Specifically regarding wire transfers, “[i]f an [o]verdraft is created in an [a]ccount

in order to complete a wire transfer, [IYS Ventures] agree[d] to immediately repay [Huntington],

and [IYS Ventures] agree[d] and authorize [Huntington] to debit any of [the Huntington] Accounts

[] in the amount equal to the overdraft and applicable fees.” Id. at p. 35.

       47.     All three Huntington Accounts are subject to the TM Services Agreement. See id.,

Schedule A.

       48.     On or around September 19, 2022, Huntington enabled each of the Huntington

Accounts for Treasury Management Services, which allowed Rizek to remotely send funds via

wire transfer out of the Huntington Accounts.

       E. Rizek Continued To Make False Representations To Increase IYS Ventures’ ACH
          Limit.

       49.     In September 2022, Rizek requested an increase in IYS Ventures’ ACH Limit for

the Huntington Accounts.




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       50.     Rizek represented to Huntington that he was in the process of moving all of IYS

Ventures’ operating accounts from Chase to Huntington and that an ACH limit increase would,

among other things, facilitate the transfer of IYS Ventures’ operating accounts.

       51.     Based on Rizek’s representations, Huntington increased the ACH Limit from

$150,000.00 to $350,000.00 for each of the Huntington Accounts.

       52.     In or around late September, Rizek requested another ACH Limit increase for the

Huntington Accounts.

       53.     Rizek represented to Huntington that he was still in the process of moving all IYS

Ventures’ operating accounts to Huntington and that he required an increase in IYS Ventures’

ACH Limit to cover IYS Ventures’ daily accounts payable, which, according to Rizek, totaled

about $650,000.00 per day.

       54.     On or around September 30, 2022, based on Rizek’s representations, Huntington

increased the ACH Limit to $650,000.00 for each of the Huntington Accounts.

       55.     On or around October 24, 2022, based on Rizek’s representations that he was

finalizing the transfer of IYS Ventures’ operating accounts to Huntington, the Huntington

Accounts were approved for a final increase of the ACH Limit from $650,000.00 to $1,300,000.00

for each of the Huntington Accounts.

   F. Rizek Carried Out His Fraudulent Scheme By Overdrawing Funds From The
      Huntington Accounts To Send Funds To Accounts Rizek Controlled.

       56.     Beginning in September 2022, Rizek caused IYS Ventures to initiate ACH

Transactions that pulled funds into the Huntington Accounts from Sending Accounts held by

entities affiliated with IYS Ventures and Rizek, including accounts at Chase, Business First

Bancshares, Inc., Republic Bank of Chicago, BMO Harris Bank, N.A., Greenwoods State Bank,

Old National Bank, and First National Bank Minnesota (“ACH Sending Accounts”).

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         57.   However, the ACH Sending Accounts often did not have sufficient funds to settle

the ACH transfers to the Huntington Accounts, resulting in numerous dishonored transactions (the

“Dishonored ACH Transactions”).

         58.   During the ACH Float Periods for the various Dishonored ACH Transactions and

before the Dishonored ACH Transactions settled, Huntington immediately made the ACH Float

Funds for the respective Dishonored ACH Transactions available to IYS, up to the aggregate ACH

Limit.

         59.   Rizek took advantage of the ACH Float Period and initiated wire transfers of the

ACH Float Funds from the Huntington Accounts to accounts Rizek controlled and which were

held by Rizek, IYS Ventures, Leanne, I Mart, and/or Kenan at third-party financial institutions

(“Wire Receiving Accounts”).

               (i)    Rizek’s Use Of ACH Float Funds In Account 8201.

         60.   In October 2022, Rizek caused IYS Ventures to initiate 79 ACH transactions to and

deposited checks into Account 8201.

         61.   In November 2022, Rizek caused IYS Ventures to initiate 103 ACH transactions to

and deposited 12 checks into Account 8201.

         62.   Of the 182 ACH transfers to Account 8201 between October 1, 2022, and

November 30, 2022, 87 were returned to the ACH Sending Accounts due to insufficient funds in

the ACH Sending Accounts. 22 checks were also returned for insufficient funds in the accounts

on which the checks were drawn.

         63.   The total amount of the 87 ACH transfers and the 22 checks that were returned was

$11,064,708.47.




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       64.      During the ACH Float Periods for the Dishonored ACH Transactions in October

2022, Rizek caused wire transfers in the total amount of $1,299,307.00 of the ACH Float Funds

available in Account 8201 in October 2022 to the Wire Receiving Accounts.

       65.      During the ACH Float Periods for the Dishonored ACH Transactions in November

2022, Rizek caused wire transfers in the total amount of $2,620,060.95 of the ACH Float Funds

available in Account 8201 in November 2022 to the Wire Receiving Accounts.

       66.      Rizek caused wire transfers from Account 8201 to the Wire Receiving Accounts in

the total amount of $3,919,367.95 using the ACH Float Funds between October 1, 2022 and 12

November 30, 2022. This created an overdraft balance of $501,013.05 in Account 8201 by

November 30, 2022.

                       (ii)   Rizek’s Use Of ACH Float Funds In Account 2014.

       67. In September 2022, Rizek caused IYS Ventures to initiate 13 ACH transactions to

Account 2014.

       68.      In October 2022, Rizek caused IYS to initiate 48 ACH transactions to and deposited

4 checks into Account 2014.

       69.      In November 2022, Rizek caused IYS Ventures to initiate 183 ACH transactions to

and deposited 7 checks into Account 2014.

       70.      Of the 244 ACH transfers to Account 2014 between September 1, 2022 and

November 30, 2022, 91 were returned to the ACH Sending Accounts due to insufficient funds in

the ACH Sending Accounts. 11 checks were also returned for insufficient funds in the accounts on

which the checks were drawn.

       71.      The total amount of the 91 ACH transfers and the 11 checks that were returned was

$11,158,496.89.



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       72.      During the ACH Float Periods for the Dishonored ACH Transactions in September

2022, Rizek caused wire transfers of $364,543.00 of the ACH Float Funds available in Account

2014 in September 2022 to the Wire Receiving Accounts.

       73.      During the ACH Float Periods for the Dishonored ACH Transactions in October

2022, Rizek caused wire transfers of $1,709,706.00 of the ACH Float Funds available in Account

2014 in October 2022 to the Wire Receiving Accounts.

       74.      During the ACH Float Periods for the Dishonored ACH Transactions in November

2022, Rizek caused wire transfers of $1,812,442.08 of the ACH Float Funds available in Account

2014 in November 2022 to the Wire Receiving Accounts.

       75.      Rizek and caused wire transferred from Account 2014 to the Wire Receiving

Accounts a total of $3,886,691.08 using the ACH Float Funds between September 1, 2022 and

November 30, 2022. This created an overdraft balance of $757,337.29 in Account 2014 by

November 30, 2022.

                (iii)   Rizek’s Use Of ACH Float Funds In Account 2027.

       76.      In September 2022, Rizek caused IYS Ventures to initiate 43 ACH transactions to

Account 2027.

       77.      In October 2022, Rizek caused IYS to initiate 110 ACH transactions to and

deposited 3 checks into Account 2027.

       78.      In November 2022, Rizek caused IYS Ventures to initiate 189 ACH transactions to

and deposited 7 checks into Account 2027.

       79.      Of the 342 ACH transfers to Account 2027 between September 1, 2022, and

November 30, 2022, 104 were returned to the ACH Sending Accounts due to insufficient funds at




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the ACH Sending Accounts. 10 checks were also returned for insufficient funds in the accounts on

which the checks were drawn.

         80.   The total amount of the 104 ACH transfers and the 10 checks for Account 2027

that were returned was $13,001,900.81.

         81.   During the ACH Float Periods for the Dishonored ACH Transactions in September

2022, Rizek wire transferred $1,088,452.00 of the ACH Float Funds available in Account 2027 in

September 2022 to the Wire Receiving Accounts.

         82.   During the ACH Float Periods for the Dishonored ACH Transactions in October

2022, Rizek wire transferred $1,686,713.85 of the ACH Float Funds available in Account 2027 in

October 2022 to the Wire Receiving Accounts.

         83.   During the ACH Float Periods for the Dishonored ACH Transactions in November

2022, Rizek wire transferred $2,487,873.00 of the ACH Float Funds available in Account 2027 in

November 2022 to the Wire Receiving Accounts.

         84.   Rizek wire transferred from Account 2027 to the Wire Receiving Accounts a total

of $5,263,038.85 using the ACH Float Funds between September 1, 2022 and November 30, 2022.

This created an overdraft balance of $667,306.33 in Account 2027 by November 30, 2022.

      G. Huntington’s Demands To Cover The Overdraft Are Ignored.

         85.   As of December 6, 2022, the Huntington Accounts were overdrawn by

$1,880,075.01 in the aggregate (the “Overdrafts”).

         86.   On December 6, 2022, Huntington sent a demand letter to Rizek and the each of

the entities he used to create the overdraft balance for immediate payment of the Overdraft

(“Demand Notice”). A true and correct copy of the Demand Notice is attached hereto as Exhibit

10.


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       87.      Neither Rizek nor any of Rizek’s businesses (IYS Ventures, I Mart, Leanne or

Kenan) have responded to the Demand Notice or otherwise taken steps to cover the Overdraft.

             H. Huntington Initiates Prepetition Litigation Against Rizek, IYS Ventures, I
                Mart, Leann And Kenan.

       88.      On March 6, 2023, Huntington filed suit against Rizek, IYS Ventures, I Mart,

Leanne and Kenan Seeking judgment and recovery for the amount of the Overdraft.

       89.      The District Court Complaint contains claims against Rizek and each of the named

entities Rizek controls for several civil claims including fraud, wire fraud, conspiracy to commit

wire fraud, bank fraud, conspiracy to commit bank fraud, civil conspiracy and conversion.

       90.      On March 16, 2023, Huntington obtained a prejudgment attachment order against

Rizek, IYS Ventures, I Mart, Leann and Kenan.

       91.      Thereafter, Rizek and IYS Ventures filed their petitions for bankruptcy under

chapter 7 and chapter 11 on May 24, 2023 and May 23, 2023 respectively which stayed the district

court litigation as against Rizek and IYS Ventures.

       92.      Following Rizek’s bankruptcy filing, Huntington obtained a judgment against I

Mart, Leanne and Kenan in the amount of $5,829,551.10 which represents the principal amount of

the Overdrafts of $1,880,075.01, treble damages, and pre-judgment interest on Plaintiff’s actual

damages, attorney fees, and costs. The judgment against I Mart, Leanne and Kenan is attached as

Exhibit 11.s

   I. Rizek’s Representations In His Bankruptcy Schedules And Statement Of Financial Affairs

       93.      On May 24, 2023, in fewer than 12 months from the time that Rizek furnished the

Rizek Financial Statements, Rizek Property List and IYS Financial Statements to Huntington,

Rizek filed his petition for individual chapter 7 bankruptcy protection.




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       94.     On June 7, 2023 Rizek filed his Schedules A/B through J (“Schedules”) and his

Declaration About an Individual Debtor’s Schedules (“Declaration”) and signed the Declaration

under penalty of perjury that everything contained in the Schedules is true and correct (ECF No.

12).

       95.     On June 7, 2023 Rizek also filed his Statement of Financial Affairs (“SOFA”)

which Rizek likewise signed under penalty of perjury that the disclosures in his SOFA are true and

correct (ECF No. 14).

       96.     Rizek thereafter filed his Amended Schedules and an Amended SOFA on June 19,

2023 and again, Rizek signed the Declaration and SOFA under penalty of perjury attesting that the

information contained in the Amended Schedules and Amended SOFA is true and correct (ECF

No. 26; ECF No. 28).

       97.     On June 28, 2023, Rizek filed his Second Amended Schedule A/B and signed the

Declaration under penalty of perjury attesting that the information contained in the Second

Amended Schedule A/B is true and correct (ECF No. 33).

       98.     According to Rizek’s Schedules at A/B and each of the amended Schedules at A/B,

his personal real estate holdings are comprised of one single family residence which is identified

as an investment property with a value of $110,000.00.

       99.     According to Rizek’s Second Amended Schedules at A/B he holds a 100 percent

ownership interest in several companies listed with a $0.00 value assigned to each of his interests.

This includes a 100 percent ownership interest in IYS Ventures, IMart, Leanne, and Kenan for

which he valued his interest at $0.00 for each company.




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        100.    Rizek’s Second Amended Schedules at A/B includes property described as “IYS

Ventures, LLC Loan to [sic] Shareholders” with a value of $1,476,286.00, the first of Rizek’s

amendments to schedules that disclose this interest.

        101.    Other than the IYS Ventures loan described herein at paragraph 100. Rizek’s

Second Amended Summary of Schedules identifies a total of $124,720.00 in assets including his

real estate holdings described herein at paragraph 98.

        102.    According to Rizek’s Amended Schedules at Schedule I and Schedule J, he has a

total net monthly income of $2,706.50 and monthly expenses of $3,180.00 leaving a monthly

budget shortfall of $473.50 (ECF No. 26).

        103.    Rizek’s Amended Statement of Financial Affairs identifies income from

employment or operation of a business in 2022 of $26,000.00 and 2021 of $275,474.00; rental

income of $37,200 in 2022 and 2023 respectively and investment income of $37,200 in 2022 and

$194,540 in 2023.

        104.    According to Rizek’s Amended Statement of Financial Affairs, he has not sold or

transferred any property including real estate in the two years prior to the Petition Date.

                                             Count I
                    False Pretenses, False Representations and Actual Fraud

        105.    Huntington re-alleges and incorporates by reference Paragraphs 1 through 104 as

if they were fully set forth herein.

        106.    11 U.S.C. §523(a)(2)(A) excepts from an individual’s discharge a debt incurred by

the debtor resulting from money, property, services, or an extension, renewal, or refinancing of

credit, to the extent obtained by—false pretenses, a false representation, or actual fraud, other than

a statement respecting the debtor’s or an insider’s financial condition.



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       107.    Rizek made materially false statements made in his telephone call with Huntington

representative Liu.

       108.    In particular, Rizek represented to Huntington that his businesses owned and

controlled 70 gas stations which was a materially false statement.

       109.    Rizek knew that neither Rizek nor IYS Ventures owned, operated, or controlled

anywhere near seventy (70) gas stations.

       110.    Rizek’s materially false statements, including, but not limited to, his statements

regarding the size and scale of his gas station business, are false statements upon which Huntington

reasonably relied, Huntington approved an increase in the ACH Limit from $75,000.00 to

$150,000.00 for each of the three Huntington Accounts.

       111.    Rizek made misrepresentations regarding his intent to move IYS Ventures’

operating accounts to Huntington and regarding his and IYS Ventures’ financial status as a part of

a scheme to induce and defraud Huntington to increase the daily ACH Limits for the Huntington

Accounts and allow Rizek and IYS Ventures access to increased funds to further their fraudulent

scheme.

       112.    Rizek made the aforementioned misrepresentations knowing that Rizek had no

intention to transfer IYS Ventures’ operating accounts to Huntington and as part of a scheme to

defraud Huntington.

       113.    Based on Rizek’s false representations to Huntington upon which Huntington

reasonably relied, including but not limited to his false statements regarding the transfer of IYS

Ventures’ operating accounts to Huntington, Huntington increased the ACH Limit to $350,000.00

for each of the three Huntington Accounts.




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        114.    Then, based on Rizek’s materially false statements including but not limited to the

false statement that his daily accounts payable totaled about $650,000.00 per day, a false statement

upon which Huntington reasonably relied, Huntington approved an increase in the ACH Limit

from $350,000.00 to $650,000.00 for each of the three Huntington Accounts.

        115.    Huntington reasonably relied upon Rizek’s materially false statements including

but not limited to the false statement that he was finalizing the transfer of IYS Ventures’ operating

accounts to Huntington when Huntington approved an third and final increase in the ACH Limit

from $650,000.00 to $1,300,000.00 for each of the three Huntington Accounts.

        116.    Huntington’s reliance was reasonable given the fact that daily deposits and

withdrawals were consistent with the Rizek’s false statements regarding the daily dollar amount

of IYS Ventures’ account transactions.

        117.    As a direct and proximate result Rizek’s materially false statements to Huntington,

Rizek was able to cause the Overdrafts which resulted in a total loss of $1,880,075.01 to

Huntington and which was moved to accounts owned and/or controlled by Rizek at other financial

institutions.

        118.    As a result of Defendants’ bank fraud which was executed through Rizek’s false

representations, Huntington is entitled to a nondischargeable judgment pursuant to 11 U.S.C.

§523(a)(2)(A) and to recover $5,829,551.10, which is the amount of the district court judgment

against I Mart, Leanne and Kenan, plus the cost of bringing this suit and additional reasonable

attorney’s fees.

        WHEREFORE, Plaintiff, THE HUNTINGTON NATIONAL BANK, respectfully

requests that this Court enter judgment in its favor and against Defendant MUWAFAK RIZEK

pursuant to 11 U.S.C. §523(a)(2)(A) determining as nondischargeable, the debt of threefold of



                                                 19
$1,880,075.01, plus the cost of the suit and reasonable attorney’s fees; and grant all other relief to

it the Court deems equitable and just.




                                                 20
                                           Count II
                   False Pretenses, False Representations and Actual Fraud

       119.    Huntington re-alleges and incorporates by reference Paragraphs 1 through 118 as if

they were fully set forth herein.

       120.    11 U.S.C. §523(a)(2)(B) excepts from an individual’s discharge a debt incurred by

the debtor resulting from money, property, services, or an extension, renewal, or refinancing of

credit, to the extent obtained by use of a statement in writing that is materially false; respecting the

debtor’s or an insider’s financial condition; on which the creditor to whom the debtor is liable for

such money, property, services, or credit reasonably relied; and that the debtor caused to be made

or published with intent to deceive.

False Statements Attending to Rizek’s Financial Condition

       121.    Rizek provided IYS Financial Statements to Huntington representing that IYS

Ventures held assets valued at $27,759,716.93, which upon information and belief is materially

false based on Rizek’s bankruptcy schedules, which disclose Rizek’s 100 percent interest in IYS

Ventures valued at $0.00.

       122.    Rizek produced the Rizek Property List to Huntington disclosing a personal real

estate ownership interest in eight properties free and clear of liens with a cumulative value of

$7,120,000.00. Based on Rizek’s Bankruptcy Schedules and Statement of Financial Affairs,

Rizek’s statements to Huntington contained in the Rizek Property List are materially false.

       123.    Rizek provided Huntington the signed Rizek Financial Statements representing that

Rizek had a net worth of $31,905,679.00. Upon information and belief and based on Rizek’s

Bankruptcy Schedules and Statement of Financial Affairs, Rizek’s statements in the Rizek

Property List are materially false.




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       124.    Rizek knew that the IYS Financial Statements, the Rizek Property List, and the

Rizek Financial Statements were grossly inflated and/or inaccurately represented Rizek’s and IYS

Ventures’ financial status and ability to generate cash flow.

Fraud Through Initiating ACH Transfers In Excess Of Funds Available To Rizek

       125.    Rizek initiated ACH transfers in writing from the ACH Sending Accounts into the

Huntington Accounts to induce Huntington to make available to IYS Ventures the ACH Float

Funds that Rizek and IYS Ventures then used the ACH Float Funds to send to wire transfers to the

Wire Receiving Accounts.

       126.    Rizek and IYS Ventures knew that the ACH Sending Accounts did not have

sufficient funds to cover the ACH transfers to the Huntington Accounts and thus that the wire

transfers from the Huntington Accounts would create the Overdraft.

       127.    Huntington relied on Rizek’s and IYS Ventures’ intentional misrepresentations

regarding his financial condition and approved ACH Limit increases for the Huntington Accounts

and made the ACH Float Funds available to IYS Ventures.

       128.    Huntington had a reasonable basis to believe that Rizek was in the process of

moving IYS Ventures’ operating accounts to Huntington, that Rizek’s and IYS Ventures’ assets

and financial condition were sufficient to justify the ACH Limit increases, and that the ACH

Sending Accounts contained sufficient funds to cover the wire transfer transactions to the Wire

Receiving Accounts.

       129.    Huntington’s reliance was further justified by the written agreement Rizek signed

for IYS Ventures which agreed to compensate Huntington for any overdrawn funds from the

Huntington Accounts, plus other costs and fees, pursuant to the Deposit Account Agreement and

the TM Services Agreement.


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       130.    Huntington had no reason to believe at the time that it made the ACH Float Funds

available in the Huntington Accounts that the ACH Sending Accounts did not have sufficient

funds, that the Dishonored ACH Transactions would be dishonored and returned, or that

Huntington would never receive funds from the ACH Sending Accounts or otherwise from Rizek

or IYS Ventures.

       131.    By the time Huntington received notice of the Dishonored Transactions, Rizek had

already sent the ACH Float Funds via wire transfer to the Wire Receiving Accounts.

       132.    As a result of Rizek’s intentional misrepresentations and fraudulent scheme, and

Huntington’s justifiable reliance upon Rizek’s and IYS Ventures’ misrepresentations, Huntington

suffered damages, in the amount of the Overdrafts and other costs and attorneys’ fees associated

with Huntington’s efforts to recover the Overdraft Funds.

       133.    As a direct and proximate result of Rizek’s materially false statements upon which

Huntington reasonably relied, Rizek was able to cause the Overdrafts which resulted in a total loss

of $1,880,075.01 to Huntington, which is the amount that Rizek transferred to accounts owned

and/or controlled by Rizek at other financial institutions plus other costs and attorney fees.

Wire Fraud

       134.    Under 18 U.S.C. §1343, a party commits wire fraud where they “devised or

intend[ed] to devise any scheme or artifice to defraud, or for obtaining money or property by means

of false or fraudulent pretenses, representations, or promises, transmits or causes to be transmitted

by means of wire . . . in interstate or foreign commerce, any writings, signs, signals, pictures, or

sounds for the purpose of executing such scheme or artifice.”

       135.    Rizek committed wire fraud by obtaining the ACH Float Funds in the Huntington

Accounts by means of written false or fraudulent pretenses, intentional misrepresentations, and



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contrary to the terms in the Deposit Account Agreement and the TM Services Agreement, and

transmitting such funds via multiple transfers “by means of wire . . . in interstate . . . commerce”

to the Wire Receiving Accounts that Rizek controlled.

         136.   Rizek as the controlling owner of IYS Ventures obtained access to the ACH Float

Funds by initiating ACH transfers from the ACH Sending Accounts to the Huntington Accounts

when Rizek knew or should have known that the ACH Sending Accounts did not have sufficient

funds.

         137.   Moreover, Rizek, through IYS Ventures, obtained access to an increased amount

of ACH Float Funds in the Huntington Accounts by falsely representing in writing, his and IYS

Ventures’ financial status and ability to generate cash flow.

         138.   Upon information and belief, Rizek participated in this fraudulent scheme because

Rizek is an officer and 100 percent owner and/or agent of IYS Ventures, I Mart, Leanne, and

Kenan.

Bank Fraud

         139.   Under 18 U.S.C. §1344, a party commits bank fraud when it “knowingly executes,

or attempts to execute, a scheme or artifice (1) to defraud a financial institution; or (2) to obtain

any of the moneys, funds, credits, assets, securities, or other property owned by, or under the

custody or control of, a financial institution, by means of false or fraudulent pretenses,

representations, or promises[.]”

         140.   Huntington is a financial institution as defined in the foregoing statute. Rizek

committed bank fraud by executing a scheme to defraud Huntington.

         141.   Rizek also committed bank fraud by obtaining the ACH Float Funds in the

Huntington Accounts by means of written false or fraudulent pretenses, intentional



                                                 24
misrepresentations attending to Rizek’s financial condition and contrary to the terms in the Deposit

Account Agreement and the TM Services Agreement, and transmitting such funds via multiple

wire transfers to the third-party Wire Receiving Account Rizek controlled.

       142.    Rizek and IYS Ventures obtained access to the ACH Float Funds by initiating ACH

transfers, in writing, from the ACH Sending Accounts to the Huntington Accounts when Rizek

and IYS Ventures knew or should have known that the ACH Sending Accounts did not have

sufficient funds to cover them.

       143.    Moreover, Rizek caused IYS Ventures to obtain access to an increased amount of

the ACH Float Funds in the Huntington Accounts by falsely representing in writing IYS Ventures’

financial status and ability to generate cash flow.

       144.    Upon information and belief, Rizek executed this scheme to defraud Huntington

because Rizek is an officer and/or agent of IYS Ventures, I Mart, Leanne, and Kenan.

       145.    As a result of Defendants’ bank fraud which was executed through Rizek’s written

representations and ACH instructions, Huntington is entitled to a nondischargeable judgment

pursuant to 11 U.S.C. §523(a)(2)(B) and to recover $5,829,551.10, which is the amount of the

district court judgment against I Mart, Leanne and Kenan, plus the cost of bringing this suit and

additional reasonable attorney’s fees.

       WHEREFORE, Plaintiff, THE HUNTINGTON NATIONAL BANK, respectfully

requests that this Court enter judgment in its favor and against Defendant MUWAFAK RIZEK

pursuant to 11 U.S.C. §523(a)(2)(B) determining as nondischargeable, the debt of threefold of

$1,880,075.01, plus the cost of the suit and reasonable attorney’s fees; and grant all other relief to

it the Court deems equitable and just.




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                                               Count II
                                       Embezzlement and Larceny

        146.    Huntington re-alleges and incorporates by reference Paragraphs 1 through 145 as

if they were fully set forth herein.

        147.    11 U.S.C. §523(a)(4) excepts from an individual’s discharge a debt for

embezzlement, or larceny.

        148.    Rizek wrongfully and without Huntington’s consent caused the funds in the

Huntington Accounts to be overdrawn through their transfer of funds via wire transactions from

Huntington to Defendants in their Wire Receiving Accounts.

        149.    Huntington has a superior right to the Overdraft Funds under the Deposit Account

Agreement and the TM Services Agreement.

        150.    Huntington has an absolute and unconditional right to the immediate possession of

the Overdraft Funds under the Deposit Account Agreement and the TM Services Agreement.

        151.    Prepetition Huntington made a demand for the return of the Overdraft Funds by

sending the Demand Notice to Rizek and each of the entities he controls.

        152.    Upon receipt of the prepetition demand, Rizek failed to return the Overdraft Funds

or respond to the Demand Notice and none of the entities Rizek controls have returned the

Overdraft Funds, therefore, Rizek wrongfully assumed control, dominion, or ownership of the

Overdraft Funds without authorization.

        153.    As a result of Defendants’ theft of in the amount of the Overdrafts, Huntington is

entitled to a nondischargeable judgment pursuant to 11 U.S.C. §523(a)(4) and to recover

$5,829,551.10, which is the amount of the district court judgment against I Mart, Leanne and

Kenan, plus the cost of bringing this suit and additional reasonable attorney’s fees.




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       WHEREFORE, Plaintiff, THE HUNTINGTON NATIONAL BANK, respectfully

requests that this Court enter judgment in its favor and against Defendant MUWAFAK RIZEK

pursuant to 11 U.S.C. §523(a)(4) determining as nondischargeable, the debt of threefold of

$1,880,075.01, plus the cost of the suit and reasonable attorney’s fees; and grant all other relief to

it the Court deems equitable and just.


Dated: August 24, 2023                                Respectfully submitted,

                                                      THE HUNTINGTON NATIONAL BANK

                                               By:    /s/Kimberly Ross Clayson
                                                      One of its Attorneys

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